                                                                                    DISTRICT OF OREGON
                        Case 23-62260-dwh11           Doc 775      Filed 02/21/25        FILED
                                                                                       February 21, 2025
                                                                                 Clerk, U.S. Bankruptcy Court



  Below is an order of the court.




                                                                   _______________________________________
                                                                              DAVID W. HERCHER
                                                                             U.S. Bankruptcy Judge




                            UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF OREGON

In re                                                      Case No. 23-62260-dwh11

Van’s Aircraft, Inc.,                                      STIPULATED ORDER EXTENDING
                                                           DEADLINE TO OBJECT TO CLAIM
                         Debtor.                           NO. 572 (VAN’S AIRCRAFT, INC.
                                                           EMPLOYEE STOCK OWNERSHIP
                                                           PLAN)

        THIS MATTER having come before the Court upon the Stipulated Motion for Entry of

Stipulated Order Extending Deadline to Object to Claim No. 572 (Van’s Aircraft, Inc. Employee

Stock Ownership Plan) [ECF No. 773] ("Motion"), and the Court having reviewed the Motion

and otherwise being duly advised in the premises; NOW, THEREFORE,

        IT IS HEREBY ORDERED that the deadline for Van’s Aircraft, Inc. to object to Claim

No. 572 of the Van’s Aircraft, Inc. Employee Stock Ownership Plan is extended to April 30,

2025.

                                                  ###




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                (VAN’S AIRCRAFT, INC. EMPLOYEE STOCK OWNERSHIP PLAN)
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I certify that I have complied with the requirements of LBR 9021-1(a).

Presented by:

TONKON TORP LLP

By /s/ Timothy J. Conway
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   Michael W. Fletcher, OSB No. 010448
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   Attorneys for Debtor


IT IS SO STIPULATED:

 TONKON TORP LLP                                       SUSSMAN SHANK LLP

 By /s/ Timothy J. Conway                              By /s/ Christopher Coyle
    Timothy J. Conway, OSB No. 851752                     Christopher Coyle, OSB No. 073501
    Michael W. Fletcher, OSB No. 010448                   Attorney for Van’s Aircraft, Inc.
    Ava Schoen, OSB No. 044072                            Employee Stock Ownership Plan
    Attorneys for Debtor




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